                       Case 2:22-mj-01951-CW Document 1 Filed 08/19/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01951(1)
                                                            §
(1) Kayla Jeanila Williams                                  §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about August 15, 2022 in Kinney county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, conspire with other unnamed co-conspirators, to transport, or move or attempt

to transport or move, certain persons, knowing or in reckless disregard of the fact that that such persons

were aliens illegally present in the United States, a felony,

in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(v)(I)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On August 15, 2022, the defendant, Kayla Jeanila WILLIAMS, a US citizen, was arrested in

Kinney County, within the Western District of Texas, for conspiring to transport four illegal aliens further into

the US. Kinney County Sheriff's Deputies initiated contact with a white Nissan Sentra, which had pulled off

the road. Border Patrol Agents responded to the scene and conducted an inspection on the occupants of the

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,                          /s/ Pena, Luis A
                                                                           Signature of Complainant
                                                                           Pena, Luis A
                                                                           Border Patrol Agent

08/19/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



COLLIS WHITE                                                               ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
             Case 2:22-mj-01951-CW Document 1 Filed 08/19/22 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT

                                WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                              Case Number: DR:22-M -01951(1)

          (1) Kayla Jeanila Williams

Continuation of Statement of Facts:

vehicle, of which WILLIAMS was the driver. A total of four illegal aliens were found in the vehicle. In a sworn
statement, WILLIAMS admitted that she was contacted by a friend who offered to pay her $1,500.00 USD to
transport subjects from the border area further into the United States."




______________________________                          /s/ Pena, Luis A
Signature of Judicial Officer                                  Signature of Complainant
